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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO: 1:18-cv-20243-UU

 LAWRENCE RUBENSTEIN

                Plaintiff,

 v.

 UNITEDHEALTHCARE INSURANCE
 COMPANY, INC., and UNITED
 BEHAVIORAL HEALTH, INC.,

                Defendant.
                                       /

                    DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION
                     OF TIME TO RESPOND TO PLAINTIFF’S COMPLAINT

        Defendants, UNITEDHEALTHCARE INSURANCE COMPANY, INC., and UNITED

 BEHAVIORAL HEALTH, INC., (“Defendants”), by and through their undersigned counsel,

 hereby files this Unopposed Motion for Extension of Time within which to respond to Plaintiff’s

 Complaint and states as follows:

        1.      On January 31, 2018, Plaintiff served his Complaint on Defendants requiring

 service of a response on or before February 21, 2018.

        2.      However, due to a heavy work load and the fact that undersigned counsel will be

 in Melbourne next week for trial, Defendants require additional time to review and investigate

 the allegations.

        3.      Defendants therefore requests a two-week extension to respond to the Complaint

 through and until March 7, 2018.

        4.      This request is not being made for the purpose of delay, but is based on the

 foregoing factors.
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           5.        Pursuant to Local Rule 7.1(a)(3), Defendant has conferred with Plaintiff’s

 counsel, and he is in agreement with the enlargement through March 7, 2018.

           WHEREFORE, Defendant, LIFE INSURANCE COMPANY OF NORTH AMERICA,

 respectfully moves the Court for an enlargement of time as set forth above, and for all other

 relief that it deems just and proper.

                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 15th day of February, 2018, I have electronically filed

 the foregoing document with the Clerk of the Court using CM/ECF. I also certify that the

 foregoing document is being served this day on, Frank R. Rodriguez, Esq. (frr@rtgn-law.com),

 Rodriguez Tramont & Nuñez P.A., 255 Alhambra Circle, Suite 1150, Coral Gables, FL 33134,

 Telephone: (305) 350-2300, Facsimile: (305) 350-2525, counsel for Plaintiff, in the manner

 specified, either via transmission of Notices of Electronic filing generated by CM/ECF or in

 some other authorized manner for those counsel or parties who are not authorized to receive

 electronically Notices of Electronic Filing.


                                                      s/ Shari Gerson
                                                      SHARI GERSON
                                                      Florida Bar No. 17035
                                                      GRAY ROBINSON, P.A.
                                                      Email: Shari.Gerson@Gray-Robinson.com
                                                      401 East Las Olas Boulevard, Suite 1000
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                                                      Facsimile: 954-761-8112
                                                      Counsel for Defendant




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